        Case 1:18-cv-02566-TWP-MJD Document 2 Filed 08/20/18 Page 1 of 1 PageID #: 22
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                Southern District
                                                 __________       of Indiana,Indianapolis
                                                              District of __________


             Carl Williams and Sonia Williams                      )
                             Plaintiff                             )
                                v.                                 )      Case No.     1:18-cv-2566
  Indianapolis Metropolitan Police Department, et al.              )
                            Defendant                              )

                                                      APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Carl Williams and Sonia Williams                                                                                     .


Date:          08/20/2018                                                                    s/Mary Beth Ramey
                                                                                              Attorney’s signature


                                                                                        Mary Beth Ramey, 5876-49
                                                                                         Printed name and bar number
                                                                                                Ramey & Hailey
                                                                                                P.O. Box 40849
                                                                                            Indianapolis, IN 46240

                                                                                                    Address

                                                                                     marybeth@rameyandhaileylaw.com
                                                                                                E-mail address

                                                                                               (317) 582-0000
                                                                                               Telephone number

                                                                                               (317) 582-0080
                                                                                                 FAX number


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